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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION


  UNITED STATES OF AMERICA

                    v.                                   Case No.: 9:22-mj-08332-BER

  SEALED SEARCH WARRANT
                                                   /

              MEDIA INTERVENORS’ RENEWED MOTION FOR FURTHER
                  UNSEALING OF SEARCH WARRANT AFFIDAVIT

         Now that the indictment in United States v. Donald J. Trump, No. 23-cr-80101-AMC

  (S.D. Fla.) has been unsealed, Intervenors American Broadcasting Companies, Inc.; the

  Associated Press; Cable News Network, Inc.; CBS Broadcasting Inc. o/b/o CBS News.; Dow

  Jones & Company, Inc., publisher of The Wall Street Journal; the E.W. Scripps Company; The

  Palm Beach Post, and USA TODAY, publications operated by subsidiaries of Gannett Co., Inc.;

  NBCUniversal Media, LLC d/b/a NBC News; The New York Times Company; Times

  Publishing Company, publisher of the Tampa Bay Times; and WP Company LLC d/b/a The

  Washington Post, and Proposed Intervenors Advance Publications, Inc.; Bloomberg L.P.; CMG

  Media Corporation; Fort Myers Broadcasting Company; Gray Media Group, Inc.; Guardian

  News & Media Limited; Insider Inc.; Los Angeles Times Communications LLC, publisher of

  The Los Angeles Times; the McClatchy Company, LLC d/b/a the Miami Herald; Orlando

  Sentinel Media Group, publisher of the Orlando Sentinel; POLITICO LLC; Radio Television

  Digital News Association; Reuters News & Media Inc.; Sun-Sentinel Company, LLC, publisher

  of the South Florida Sun Sentinel; TEGNA Inc.; Telemundo Network Group LLC d/b/a Noticias

  Telemundo; Tribune Publishing Company; and Univision Networks & Studios, Inc. (all together,

  the “Media Intervenors”) respectfully renew the pending motion (ECF No. 126) for an order
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  further unsealing the affidavit of probable cause submitted in connection with the search warrant

  executed on August 8, 2022 at Mar-a-Lago (the “Affidavit”), and further move to unseal the

  order (ECF No. 146) and motion (ECF No. 147) filed under seal in this matter on June 12, 2023.

                                             ARGUMENT

         Recognizing “the intense public and historical interest in an unprecedented search of a

  former President’s residence,” Aug. 22, 2022 Order at 13 (ECF No. 80), this Court entered an

  order on August 25, 2022 granting the Media Intervenors’ motion to unseal in part and directing

  the Government to file a redacted version of the Affidavit on the public docket. Aug. 25, 2022

  Order (ECF No. 94); see also Notice of Filing of Redacted Aff. (ECF No. 102-1) (redacted

  Affidavit as publicly filed). The Court found that the Government had “met its burden of

  showing that its proposed redactions [were] narrowly tailored to serve the Government’s

  legitimate interest in the integrity of the ongoing investigation.” Aug. 25, 2022 Order at 1-2.

         The following month, the Government notified the Court that, because additional judicial

  records related to the investigation into the former President’s handling of classified materials

  had since been filed in two separate proceedings,1 “aspects of the grand jury’s investigation have

  now been publicly revealed, [and] there is no longer any reason to keep them sealed (i.e.

  redacted) in the filings in this matter, including the affidavit in support of the search warrant.”

  See Notice Regarding Additional Partial Unsealing of Search Warrant (ECF No. 124) at 2-3.




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    Those proceeding were (1) the now-dismissed action before Judge Aileen M. Cannon brought
  by Trump to seek the appointment of a special master and other judicial oversight, Trump v.
  United States, No. 9:22-cv-81294-AMC (S.D. Fla.) (the “Special Master Proceeding”) and (2) an
  emergency application by the Government before then-Chief Judge Beryl A. Howell of the U.S.
  District Court for the District of Columbia seeking permission to disclose certain information
  about the underlying grand jury investigation in connection with the Special Master Proceeding,
  In re Application of USA for Order Pursuant to Fed. R. Crim. P. 6(E)(3)(e)(i) for Limited
  Disclosure of Matter Occurring Before a Grand Jury, No. 1:22-gj-37-BAH (D.D.C.).


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  The Court agreed that the disclosures justified further unsealing, see Order to Unseal (ECF No.

  130), and placed a less-redacted copy of the Affidavit on the public docket (ECF No. 125).

          On June 8, 2023, former President Trump was indicted, along with his employee, Waltine

  Nauta. The 49-page indictment contains more than two-dozen pages of detailed factual

  allegations accompanied by photographs and charts outlining the alleged national defense

  records at issue. All told, the indictment asserts 38 charges under multiple federal statutes. See

  generally Indictment, United States v. Trump, ECF No. 3

          Now that former President Trump has been indicted and arraigned and has pleaded not

  guilty on 38 criminal counts related to his handling of classified materials, and that indictment

  has been unsealed, the Government cannot justify maintaining the current redactions to the

  Affidavit. See, e.g., United States v. Doe, 629 F. App’x 69, 74 (2d Cir. 2015) (directing

  government “to inform the district court” should “the conditions for unsealing . . . come to

  pass”); United States v. Appelbaum (In re United States), 707 F.3d 283, 295 (4th Cir. 2013)

  (recognizing that public was “not forever barred from access . . . because at some point in the

  future, the Government’s interest in sealing may no longer outweigh the common law

  presumption of access”); United States v. Steinger, 626 F. Supp. 2d 1231, 1237 (S.D. Fla. 2009)

  (recognizing that once circumstances change, “certain documents may be completely unsealed,

  and others might be filed in public record with certain redactions”); see also Aug. 18, 2022 Hr’g

  Tr. at 30:6-9 (confirming that the Court would address any future request for unsealing “in the

  full context in which it arises”).

          The Government’s stated justifications for redacting portions of the Affidavit until now

  have been that “disclosure would reveal (1) the identities of witnesses, law enforcement agents,

  and uncharged parties, (2) the investigation’s strategy, direction, scope, sources, and methods,




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  and (3) grand jury information protected by Federal Rule of Criminal Procedure 6(e).” Order to

  Unseal at 1 (ECF No. 94). Given the unsealed indictment, however, it is safe to say that those

  concerns no longer apply to most, if not all, of the information currently redacted in the

  Affidavit. See also Washington Post v. Robinson, 935 F.2d 282, 292 (D.C. Cir. 1991) (“Because

  disclosure of the contents of the plea agreement would only have confirmed to the public what

  was already validated by an official source . . . it could hardly have posed any additional threat to

  the ongoing criminal investigation.”); CBS v. U.S. Dist. Ct., 765 F.2d 823, 825 (9th Cir. 1985)

  (finding alleged harms not compelling where much of the information to be sealed “might easily

  be surmised from what is already in the public record”); In re The Herald Co., 734 F.2d 93, 101

  (2d Cir. 1984) (“Though the basis for apprehending harm to the defendant is apparent, the record

  raises a question as to whether the information sought to be kept confidential has already been

  given sufficient public exposure to preclude a closure order on this account.”). The Court should

  therefore review the Affidavit in light of the indictment and lift all redactions that are no longer

  justified, and on the same grounds unseal the sealed order and motion (ECF Nos. 146 & 147)

  recently docketed in this matter.

                                            CONCLUSION

         For the foregoing reasons, the Media Intervenors respectfully request that the Court enter

  an order further unsealing the Affidavit and unsealing the recently-docketed sealed order and

  motion. Specifically, the Media Intervenors request that the Court (1) direct the Government to

  submit a new version of the Affidavit in camera that includes only those redactions essential to

  ensuring the integrity of the prosecution of former President Trump or his co-defendant in this

  District, (2) direct the Government to file a public redacted version of its brief simultaneously

  with any brief it files under seal in conjunction with its in camera submission of proposed

  redactions to the Affidavit, (3) conduct an independent review of the Government’s proposed


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  redactions, and (4) promptly place on the public docket a new version of the Affidavit and

  unsealed versions of the June 12, 2023 order and motion.

                     CERTIFICATION OF GOOD-FAITH CONFERENCE

         Pursuant to Local Rule 88.9(a), undersigned counsel certify that on June 15, 2023, they

  made reasonable efforts to confer via email with counsel for the Government and counsel for

  former President Trump. Counsel for the Government stated that they “object to unsealing the

  entire search warrant affidavit underlying this matter,” but that “[w]ith respect to the search

  warrant affidavit, there may be additional portions that we would be willing to unredact in light

  of the indictment of former President Trump.” Undersigned counsel notified Government

  counsel that they would wait until 12:00 p.m. on June 16, 2023 “to hear further from the

  Government on its position,” and as of this filing, undersigned counsel has received no further

  communications from the Government, and no communications from counsel for Trump.

   Dated: June 16, 2023                             Respectfully submitted,

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